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EXHIBIT 2
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Deposition of Jeffrey Vijungea In Re: HIGH-TECH EMPLOYEE ANTITRUST LITIGATION

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UNITED STATES DISTRICT COURT
NCRTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION

IN RE: HIGH-TECH EMPLOYEE )
ANTITRUST LITIGATION )

) No, 11-CV-2509-LHK
THIS DOCUMENT RELATES TO: )

ALL ACTIONS. }

CONFIDENTIAL - ATTORNEYS' EYES ONLY
VIDEO DEPOSITION OF JEFFREY VIJUNGCO

October 5, 2012

REPORTED BY: GINA V. CARBONE, CSR NO. 8249, RPR, CCRR

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09:55:37 1]| were signed by the judge in this case?

09:55:40 2 A. I've signed -- I don't know who the judge is,
09:55:42 3] but yes, I believe so.

09:55:45 4 Q. Have you read any of the deposition transcripts

09:55:48 5 in this case?

09:55:49 6 A. No.
09:55:50 7 Q. When did you first learn about this lawsuit?
09:55:56 8 A. I don't recall exactly in the past. A year or

09:56:03 9 so. I'm not sure.

09:56:05 10 Q. Well, did a lawyer tell you about it?

09:56:07 11 MR. KIERNAN: Objection. Instructing the
09:56:09 12 witness not to answer any communications that he's had
09:56:11 13 with counsel.

09:56:14 14 MR, SAVERI: Q. Let me ask you a better
09:56:15 15 question. Did you read about this lawsuit in the
09:56:19 16 | newspaper or on the Internet or in some press

09:56:24 17 coverage of the lawsuit?

09:56:25 18 A. I think everyone has seen a press release about
09:56:28 19 it in the valley, yes.

09:56:32 20 Q. Now, after you heard about it, did you speak
09:56:34 21 with anybody at Adobe about the lawsuit?

09:56:37 22 A. No.

09:56:39 23 Q. Have you ever spoken to anybody at Adobe about
09:56:41 24 the lawsuit?

09:56:42 25 A. No,

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Q. Does your boss know where you are today?

A. No.

Q. Okay. Have you spoken to anyone besides
Adobe's lawyers about this case?

A. No.

Q. Now, at some point in time, did you become
aware that the United States Government, in particular
the Department of Justice, was investigating Adobe's
recruiting practices?

A. Yes.

Q. And when did you learn of that?

A. I don't recall exactly when. But as you
mentioned earlier, as far as press, I mean, that's kind
of my recollection of it, as of most recent. The
San Jose Mercury Times or online, some article.

Q. Were you asked to provide any information to
the United States Government, and in particular the
Department of Justice, with respect to their
investigation of Adobe's hiring practices?

A. I was asked to provide information, instructed
by, you know, my legal counsel as far as providing
whatever --

MR. KIERNAN: And I'm going to instruct the
witness not to disclose any communications that you've

had with counsel.

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09:58:25 1 MR. SAVERI: @Q. Have you ever spoken with
09:58:28 2 anybody at the DOJ about Adobe's hiring practices?
09:58:36 3 A. No. Not that I recall.

09:58:37 4 Q. Now, are you aware that Adobe submitted a white
09:58:39 5 paper to the Department of Justice in connection with
09:58:42 6 the Department of Justice's investigation of Adobe's
09:58:46 7 business practices?

09:58:47 8 -A. I don't know what a white paper is related to
09:58:50 9 that.

09:58:50 10 Q. So I take it then that you've never reviewed
09:58:52 11] Adobe's white paper submitted to the Department of
09:58:54 12 Justice. Is that correct?

09:58:56 13 A. I don't recall what that is.

09:58:57 14 Q. Okay. Now, are you aware that Adobe resolved
09:59:08 15 the claims raised by the United States Department of
09:59:12 16 | Justice against Adobe with respect to its hiring
09:59:16 17 practices?

09:59:17 18 A. I believe so. I don't know what "resolved"
09:59:20 19 means.

09:59:21 20 Q. Well, do you know that Adobe entered into an
09:59:25 21 | agreement with the Department of Justice that provided,
09:59:28 22 among other things, that Adobe would change its business
09:59:32 23 practices with respect to its hiring or recruiting?
09:59:36 24 A. I believe so. Around -- yes.

09:59:40 25 QO. And how did you learn about that?

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Deposition of Jeffrey Vijungco In Re: HIGH-TECH EMPLOYEE ANTITRUST LITIGATION

1 I, Gina V. Carbone, Certified Shorthand

2| Reporter licensed in the State of California, License

3 No. 8249, hereby certify that the deponent was by me

4 first duly sworn and the foregoing testimony was

5 reported by me and was thereafter transcribed with

6 computer-aided transcription; that the foregoing is a
7 full, complete, and true record of said proceedings.

8 I further certify that I am not of counsel or
9 attorney for either of any of the parties in the

10 foregoing proceeding and caption named or in any way
11 interested in the outcome of the cause in said caption.
12 The dismantling, unsealing, or unbinding of
13 the original transcript will render the reporter's

14 certificates null and void.

15 In witness whereof, I have hereunto set my

16 hand this day: October 11, 2012.

17 _._ X___—sReading and Signing was requested.

18 Reading and Signing was waived.

19 Reading and signing was not requested.
20

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22

23 GINA V. CARBONE

24 CSR 8249, RPR, CCRR

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